Case 1:16-cv-00761-WJM-MJW Document 1 Filed 04/01/16 USDC Colorado Page 1 of 15




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No.: 1:16-cv-00761

  Michael Olivero and Angela Olivero, Individuals,

           Plaintiffs,
  v.

  Trek Bicycle Corporation, a Wisconsin Corporation,

           Defendant.


                               COMPLAINT AND JURY DEMAND


           Plaintiffs Michael Olivero and Angela Olivero by and through their counsel, George E.

  McLaughlin and Brian Weiss, for their Complaint against Defendant Trek Bicycle

  Corporation, state and allege as follows:

                                              PARTIES

           1.      Plaintiff Michael Olivero is a citizen of the State of Colorado, and resident of

  Denver County, Colorado, residing at the address of 4524 Beach Court, Denver, Colorado

  80211.

           2.      Plaintiff Angela Olivero is a citizen of the State of Colorado, and resident of

  Denver County, Colorado, residing at the address of 4524 Beach Court, Denver, Colorado

  80211.

           3.      At all times relevant hereto, Plaintiff Angela Olivero was and is the spouse of

  Michael Olivero.




                                                   1
Case 1:16-cv-00761-WJM-MJW Document 1 Filed 04/01/16 USDC Colorado Page 2 of 15




         4.      Defendant Trek Bicycle Corporation [hereinafter “Trek”] is a foreign corporation,

  incorporated in the state of Wisconsin, with its principal place of business located at 801 West

  Madison Avenue, Waterloo, Wisconsin 53594.

         5.      At all times relevant hereto, Defendant Trek designed, manufactured, imported,

  distributed and sold bicycles and bicycle components.

         6.      Trek has disclosed to the Wisconsin Department of Financial Intuitions that

  Robert B. Burns is its Registered Agent, with an office address of 801 West Madison Avenue,

  P.O. Box 183, Waterloo, Wisconsin 53594.

                                  JURISDICTION AND VENUE

         7.      At all times relevant hereto, Defendant Trek designed, manufactured, and

  imported bicycles and bicycle components that were distributed to the state of Colorado, and

  sold or delivered to consumers in the State of Colorado, including in Jefferson County, Colorado,

  bicycles and bicycle components.

         8.      On or about the date of March 25, 2015, Plaintiff Michael Olivero purchased in

  Jefferson County, Colorado, a Trek designed, manufactured, and/or imported carbon fiber

  bicycle fork, Serial Number 295763, identification Code MTFEG020186, [hereinafter at times

  referred to as the “Trek carbon fiber bicycle fork”].

         9.      On the date of June 15, 2015, the Trek designed, manufactured, and/or imported

  carbon fiber bicycle fork, Serial Number 295763, identification Code MTFEG020186, suddenly

  and without warning catastrophically failed while Plaintiff Michael Olivero was riding his

  bicycle in a normal and expected manner in Lakewood, Jefferson County, Colorado, causing him

  to crash and sustain serious personal injuries.


                                                    2
Case 1:16-cv-00761-WJM-MJW Document 1 Filed 04/01/16 USDC Colorado Page 3 of 15




         10.     This Court has subject matter jurisdiction of this civil action pursuant to 28 U.S.C.

  § 1332(a) as the parties are citizens of different states, and the amount in controversy exceeds the

  sum or value of $75,000, exclusive of interest and costs.

         11.     Venue is proper in this District Court pursuant to 28 U.S.C. § 1391(a) and (c),

  as this cause of action arose and accrued in Jefferson County, Colorado.

         12.     Defendant Trek has sufficient minimum contacts with the State of Colorado

  for jurisdiction and venue to be proper in this Court.

                                   FACTUAL ALLEGATIONS

         13.     At all times relevant hereto, Plaintiff Michael Olivero was the owner of a Gary

  Fisher Cronus road bicycle, designed, manufactured, imported, distributed and sold by Trek.

         14.     On or about March 25, 2015, Plaintiff Michael Olivero purchased at Wheat Ridge

  Cyclery, Inc., in Wheat Ridge, Colorado, a new Trek designed, manufactured, and/or imported

  carbon fiber bicycle fork, Serial Number 295763, identification Code MTFEG020186.

         15.     Trek designed, manufactured, and/or imported the carbon fiber bicycle fork,

  Serial Number 295763, identification Code MTFEG020186.

         16.     The above identified Trek carbon fiber bicycle fork that is the subject of this

  civil action was placed in the stream of commerce by Trek or one of its subsidiaries or

  affiliates for which it is legally liable, or one of its agents, or a party under its direction or

  control.

         17.     Wheat Ridge Cyclery, Inc., purchased or obtained this above identified Trek

  carbon fiber bicycle fork in an unaltered and new condition from Trek.




                                                   3
Case 1:16-cv-00761-WJM-MJW Document 1 Filed 04/01/16 USDC Colorado Page 4 of 15




         18.     The above identified Trek carbon fiber bicycle fork, was an appropriate

  component to be used on the Plaintiff Michael Olivero’s Gary Fisher Cronus road bicycle.

         19.     The above identified Trek carbon fiber bicycle fork was installed on the Plaintiff

  Michael Olivero’s Gary Fisher Cronus road bicycle by professional bicycle mechanics at Wheat

  Ridge Cyclery, Inc.

         20.     Wheat Ridge Cyclery, Inc., and the professional bicycle mechanics at Wheat

  Ridge Cyclery, Inc., did not alter or modify the Trek carbon fiber bicycle fork, prior to its sale to

  the Plaintiff Michael Olivero.

         21.     Wheat Ridge Cyclery, Inc., and the professional bicycle mechanics at Wheat

  Ridge Cyclery, Inc., did not alter or modify the Trek carbon fiber bicycle fork, prior to its

  installation on the Gary Fisher Cronus road bicycle of the Plaintiff Michael Olivero.

         22.     The above identified Trek carbon fiber bicycle fork purchased by the Plaintiff

  Michael Olivero was properly installed on the Plaintiff Michael Olivero’s Gary Fisher Cronus

  road bicycle by professional bicycle mechanics at Wheat Ridge Cyclery, Inc.

         23.     The above identified Trek carbon fiber bicycle fork purchased by the Plaintiff

  Michael Olivero was installed on the Plaintiff Michael Olivero’s Gary Fisher Cronus road

  bicycle according to the manufacturer’s specifications.

         24.     After the purchase and installation of the above identified Trek carbon fiber

  bicycle fork Plaintiff Michael Olivero used that product by riding his Gary Fisher Cronus road

  bicycle in a reasonable and expected manner.

         25.     After purchasing the above identified Trek carbon fiber bicycle fork Plaintiff

  Michael Olivero did not abuse, misuse, or damage that product.


                                                   4
Case 1:16-cv-00761-WJM-MJW Document 1 Filed 04/01/16 USDC Colorado Page 5 of 15




         26.     On the date of June 15, 2015, Plaintiff Michael Olivero was riding his bicycle in a

  reasonable and expected manner in Lakewood, Jefferson County, Colorado, when the above

  identified Trek carbon fiber bicycle fork, suddenly and without warning, catastrophically failed.

         27.     The above identified Trek carbon fiber bicycle fork failed because it was

  manufactured in such a way that it was not able to withstand the forces that it was subjected to

  during normal, intended, and expect use with without failure.

         28.     As a direct and proximate result of the sudden and catastrophic failure of the

  bicycle fork, Plaintiff Michael Olivero crashed and sustained serious personal injuries.

                                   FIRST CLAIM FOR RELIEF

                                 STRICT PRODUCT LIABILITY
                                DEFECTIVE MANUFACTURING
         29.     Plaintiffs hereby incorporate by reference, as if fully set forth herein, each and

  every allegation set forth in the preceding paragraphs and further allege as follows:

         30.     Trek or one of its subsidiaries or affiliates for which it is legally liable, is the

  manufacturer, designer, distributor, exporter, importer, seller, and/or supplier of the above

  identified carbon fiber bicycle fork that is the subject of this civil action.

         31.     The Trek carbon fiber bicycle fork that is the subject of this civil action was

  manufactured, designed, sold, distributed, supplied and/or placed in the stream of commerce

  by or for Defendant Trek.

         32.     The Trek carbon fiber bicycle fork that is the subject of this civil action was

  defective in its manufacture and construction, and unreasonably dangerous, when it left the

  hands of Defendant Trek, posing a serious risk of injury in that:



                                                   5
Case 1:16-cv-00761-WJM-MJW Document 1 Filed 04/01/16 USDC Colorado Page 6 of 15




              a. It contained manufacturing defects that caused it to suddenly and

                 catastrophically fail when being used in a reasonable and expected

                 manner;

              b. The carbon fiber material that it was constructed of did not comply

                 with the manufacturer’s specifications;

              c. The manufacturing process that was used in the creation of the

                 carbon fiber fork did not comply with the manufacturer’s

                 specifications;

              d. The carbon fiber fork, as manufactured, did not meet or comply

                 with the manufacturer’s performance specifications.

              e. The carbon fiber fork, as manufactured, contained defects in its

                 materials that caused it to not comply with the manufacturer’s

                 performance specifications, and to suddenly and catastrophically

                 fail when being used in a reasonable, expected and intended manner

                 by an intended user; and,

              f. The carbon fiber fork, as manufactured, contained defects in its

                 workmanship that caused it to not comply with the manufacturer’s

                 performance specifications, and to suddenly and catastrophically

                 fail when being used in a reasonable, expected and intended

                 manner.

        33.      The carbon fiber structure of the Trek bicycle fork that is the subject of this

  civil action, as manufactured, is unable to sustain the reasonable, intended and expected


                                                6
Case 1:16-cv-00761-WJM-MJW Document 1 Filed 04/01/16 USDC Colorado Page 7 of 15




  forces it was subjected to when in use on the Plaintiff’s bicycle, and therefore, was defective

  and unreasonably dangerous.

         34.     The Trek carbon fiber bicycle fork did not perform according to its intended

  manufacturing specifications, and, therefore, was defective and unreasonably dangerous.

         35.     The defect in the manufacture of the Trek carbon fiber bicycle fork includes

  the fact that the subject carbon fiber formulation was flawed or weak as opposed to some

  other composite of material formulation that was less brittle, more durable, stronger, and less

  likely to fail catastrophically.

         36.     As a direct and proximate result of Defendants’ defectively manufactured and

  unreasonably dangerous carbon fiber bicycle fork, while being operated in a reasonable and

  expected manner by Plaintiff Michael Olivero, suddenly and catastrophically failed.

         37.     As a direct and proximate result of Defendant’s defectively manufactured and

  unreasonably dangerous carbon fiber bicycle fork, on the date of June 15, 2015, while being

  operated in a reasonable and expected manner, Plaintiff Michael Olivero’s Gary Fisher

  Cronus bicycle became uncontrollable and crashed, resulting in serious injuries to Plaintiff

  Michael Olivero.

         38.     As a direct and proximate result of Defendant Trek’s defectively manufactured

  and unreasonably dangerous carbon fiber bicycle fork Plaintiff Michael Olivero’s Gary

  Fisher Cronus bicycle became uncontrollable and crashed, resulting in damages to Plaintiff

  Michael Olivero’s personal property.

                                     SECOND CLAIM FOR RELIEF




                                                7
Case 1:16-cv-00761-WJM-MJW Document 1 Filed 04/01/16 USDC Colorado Page 8 of 15




                                STRICT PRODUCT LIABILITY
                                     DESIGN DEFECT

            39.   Plaintiffs hereby incorporate by reference, as if fully set forth herein, each and

  every allegation set forth in the preceding paragraphs and further allege as follows:

            40.   The Trek carbon fiber bicycle fork that is the subject of this civil was defective

  in its design when it left the hands of Defendant Trek, posing a serious risk of injury.

            41.   The defect in the design of the Trek carbon fiber bicycle fork includes the fact

  that it was not designed to withstand forces it would be subjected to in normal, intended and

  expected use.

            42.   The defect in the design of the Trek carbon fiber bicycle fork includes the fact

  that the fork proved to be inadequate to withstand the environment, uses, and forces that it

  would reasonably be expected to be subjected to during normal and expected use on a Gary

  Fisher Cronus road bicycle being ridden by a rider of expected weight in the intended and

  expected manner.

            43.   As a direct and proximate result of the Defendant’s defectively designed Trek

  carbon fiber bicycle fork while being operated in a reasonable and expected manner on a

  Gary Fisher Cronus bicycle by the Plaintiff Michael Olivero it suddenly and catastrophically

  failed.

            44.   As a direct and proximate result of Defendant Trek’s defectively designed and

  unreasonably dangerous carbon fiber bicycle fork Plaintiff Michael Olivero’s Gary Fisher

  Cronus bicycle became uncontrollable and crashed, resulting in serious injuries, damages and

  losses to Michael Olivero.



                                                  8
Case 1:16-cv-00761-WJM-MJW Document 1 Filed 04/01/16 USDC Colorado Page 9 of 15




          45.      As a direct and proximate result of Defendant Trek’s defectively designed and

  unreasonably dangerous carbon fiber bicycle fork Plaintiff Michael Olivero’s Gary Fisher

  Cronus bicycle became uncontrollable and crashed, resulting in damages to Plaintiff Michael

  Olivero’s personal property.

                                     THIRD CLAIM FOR RELIEF

                                            NEGLIGENCE

          46.      Plaintiffs incorporate by reference, as if fully set forth herein, each and every

  allegation set forth in the preceding paragraphs and further allege as follows:

          47.      Defendant Trek had a duty to exercise ordinary and reasonable care in the

  design, manufacture, exportation, importation, distribution, and sale of the Trek carbon fiber

  bicycle fork that is the subject of this civil action.

          48.      Defendant Trek failed to exercise ordinary and reasonable care in the design,

  manufacture, exportation, importation, distribution, and sale of the Trek carbon fiber bicycle

  fork that is the subject of this civil action in that:

                a. It contained manufacturing defects that caused it to suddenly and

                   catastrophically fail when being used in a reasonable and expected

                   manner;

                b. The carbon fiber material that it was constructed of did not comply

                   with the manufacturer’s specifications;

                c. The manufacturing process that was used in the creation of the

                   carbon fiber fork did not comply with the manufacturer’s

                   specifications;


                                                     9
Case 1:16-cv-00761-WJM-MJW Document 1 Filed 04/01/16 USDC Colorado Page 10 of 15




                d. The carbon fiber fork, as manufactured, did not meet or comply

                   with the manufacturer’s performance specifications.

                e. The carbon fiber fork, as manufactured, contained defects in its

                   materials that caused it to not comply with the manufacturer’s

                   performance specifications, and to suddenly and catastrophically

                   fail when being used in a reasonable, expected and intended

                   manner; and,

                f. The carbon fiber fork, as manufactured, contained defects in its

                   workmanship that caused it to not comply with the manufacturer’s

                   performance specifications, and to suddenly and catastrophically

                   fail when being used in a reasonable, expected and intended

                   manner.

          49.      Defendant Trek’s failure to exercise ordinary and reasonable care in the

   design, manufacture, exportation, importation, testing, and sale of the bicycle and its

   components that are the subject of this civil action, as set forth above, was negligent.

          50.      As a direct and proximate result of Trek’s negligence, as set forth above, the

   Trek carbon fiber fork on the Gary Fisher Cronus bicycle of the Plaintiff Michael Olivero

   suddenly and catastrophically failed.

          51.      As a direct and proximate result of Defendant Trek’s negligence, Plaintiff

   Michael Olivero’s Gary Fisher Cronus bicycle became uncontrollable and crashed, resulting

   in injuries, damages and losses to him.




                                                  10
Case 1:16-cv-00761-WJM-MJW Document 1 Filed 04/01/16 USDC Colorado Page 11 of 15




             52.   As a direct and proximate result of Defendant Trek’s negligence Plaintiff

   Michael Olivero’s Gary Fisher Cronus bicycle became uncontrollable and crashed, resulting

   in damages to Plaintiff Michael Olivero’s personal property.

                                  FOURTH CLAIM FOR RELIEF

                               BREACH OF IMPLIED WARRANTY

             53.   Plaintiffs incorporate by reference, as if fully set forth herein, each and every

   allegation set forth in the preceding paragraphs and further allege as follows:

             54.   The Trek carbon fiber fork that is the subject of this civil action was impliedly

   warranted by Trek to be fit for the reasonable and intended use for which it was intended to

   be used on bicycles such as the Gary Fisher Cronus road bicycle of the Plaintiff Michael

   Olivero.

             55.   At the time Defendant Trek designed, manufactured, exported, imported,

   marketed, sold, and/or distributed the Trek carbon fiber fork that is the subject of this civil

   action Defendant Trek knew of the use for which the carbon fiber fork was intended, and

   impliedly warranted this product to be of merchantable quality, and safe for such use, and

   that their design and manufacture complied with all generally accepted standards in the

   industry.

             56.   Trek breached its implied warranties of merchantability and fitness for the

   intended use in that on June 15, 2015, when being used in a reasonable, expected, intended,

   and foreseeable manner the carbon fiber fork suddenly and without warning catastrophically

   failed.




                                                  11
Case 1:16-cv-00761-WJM-MJW Document 1 Filed 04/01/16 USDC Colorado Page 12 of 15




          57.     As a direct and proximate result of Defendant Trek’s breach of the implied

   warranty of merchantability and fitness for an intended use, Plaintiff Michael Olivero’s Gary

   Fisher Cronus bicycle became uncontrollable and crashed, resulting in injuries to him.

          58.     As a direct and proximate result of Defendant Trek’s breach of the implied

   warranty of merchantability and fitness for an intended use Plaintiff Michael Olivero’s Gary

   Fisher Cronus bicycle became uncontrollable and crashed, resulting in damages to Plaintiff

   Michael Olivero’s personal property.

                                  FIFTH CLAIM FOR RELIEF

                              BREACH OF EXPRESS WARRANTY

          59.     Plaintiffs incorporate by reference, as if fully set forth herein, each and every

   allegation set forth in the preceding paragraphs and further allege as follows:

          60.     It is believed and contended that Trek had given certain express warranties as

   to the performance, quality, durability, and appropriateness of the carbon fiber bicycle fork,

   Serial Number 295763, identification Code MTFEG020186, for use on road bicycles such as

   the Gary Fisher Cronus bicycle of the Plaintiff Michael Olivero.

          61.     The Defendant Trek’s carbon fiber bicycle fork, Serial Number 295763,

   identification Code MTFEG020186, in fact has on it a label referring to an express warranty.

          62.     The Defendant Trek breached its express warranties in that when being used in

   a reasonable, expected, intended, and foreseeable manner the carbon fiber fork suddenly and

   catastrophically failed.




                                                 12
Case 1:16-cv-00761-WJM-MJW Document 1 Filed 04/01/16 USDC Colorado Page 13 of 15




          63.      As a direct and proximate result of Defendant Trek’s breach of its express

   warranties Plaintiff Michael Olivero’s Gary Fisher Cronus bicycle became uncontrollable

   and crashed, resulting in injuries to him.

          64.      As a direct and proximate result of Defendant Trek’s breach of its express

   warranties Plaintiff Michael Olivero’s Gary Fisher Cronus bicycle became uncontrollable

   and crashed, resulting in damages to Plaintiff Michael Olivero’s personal property.

                            DAMAGES FOR ALL CAUSES OF ACTION

          65.      Plaintiffs incorporate by reference all of the facts and allegations set forth above.

          66.      As a direct and proximate result of the incident that is the subject of this

   complaint, Plaintiff Michael Olivero suffered and sustained past and future:

                a. Serious person injuries requiring emergency transportation from the scene,

                   hospitalization, and surgery, and rehabilitation;

                b. Medical bills and expenses in excess of $93,000;

                c. Lost earnings and earning capacity;

                d. Pain, suffering, emotional distress, and mental anguish;

                e. Physical impairment;

                f. Disfigurement;

                g. Loss and damage to his personal property;

                h. Attorney fees and litigation costs and expenses; and

                i. Other economic and non-economic damages as may be proven at trial

          67.      As a direct and proximate result of the incident that is the subject of this

   complaint, Plaintiff Angela Olivero suffered and sustained the loss of the consortium of her


                                                     13
Case 1:16-cv-00761-WJM-MJW Document 1 Filed 04/01/16 USDC Colorado Page 14 of 15




   husband, Michael Olivero resulting from her husband’s injuries, damages for pain and

   suffering, emotional distress, loss of enjoyment of life, loss of earnings, loss of

   companionship, loss of financial support from, and other pecuniary and non-pecuniary

   damages as may be proven at trial.

           68.     Plaintiff, Angela Olivero is entitled to recover for loss of consortium damages

   resulting from her husband’s injuries, damages for pain and suffering, emotional distress, loss

   of enjoyment of life, loss of earnings, loss of companionship, loss of financial support from,

   and other pecuniary and non-pecuniary damages.

                                       PRAYER FOR RELIEF

           WHEREFORE, Plaintiffs pray for relief as follows:

           1.      Compensatory damages in excess of the jurisdictional amount of this Court,

   including, but not limited to, pain, suffering, emotional distress, loss of enjoyment of life,

   emotional distress, grief and other non-economic damages in an amount to be determined at

   trial of this action;

           2.      Expenses, income, and other economic damages in an amount to be

   determined at the trial of this civil action;

           3.      Damages for the physical impairment of Plaintiff Michael Olivero;

           4.      Damages for the disfigurement of Plaintiff Michael Olivero;

           5.      Damages for the loss of consortium of Plaintiff Angela Olivero;

           6.      All damages allowed under C.R.S. §§13-21-201 and 202, and under C.R.S. §

   13-20-101;

           7.      Pre-judgment and post-judgment interest;


                                                   14
Case 1:16-cv-00761-WJM-MJW Document 1 Filed 04/01/16 USDC Colorado Page 15 of 15




         8.     Attorneys’ fees, expenses, and costs of this action as allowed by law; and,

         9.     Such further relief as this Court deems necessary, just, and proper.

                                         JURY DEMAND

         Plaintiffs hereby demand a trial by jury on all issues so triable.


         Dated this 1st day of April 2016.

                                               Respectfully submitted,

                                               /s/George E. McLaughlin
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                                                 15
